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CONSTANTINO, et al., EASTERN DISTRICT OF LOUISIANA
[NEW ORLEANS]

Plaintiff(s),
DOCKET NO. 2:05-cv-01986-EEF-DEK
V.

MERCK & CO., INC.,
STIPULATION OF DISMISSAL

Defendant(s). WITH PREJUDICE
AS TO ALL DEFENDANTS

Pursuant to Fed.R.Civ.P. 41, the undersigned counsel hereby stipulate that all
claims of plaintiff, CATHY LARRIMORE CONSTANTINO and JOE CONSTANTINO, against
defendant Merck & Co., Inc. and all other named defendants be dismissed in their entirety with

prejudice, each party to bear its own costs.

Sul)

Stephen G. Strauss Phillip A. Wittmann
Bryan Cave LLP Dorothy H. Wimberly
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Dated: A x ly 2b oY Attorneys for Merck & Co., Inc.
Dated: L. 2-4 O

V1013
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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Stipulation of Dismissal With

Prejudice as to All Defendants has been served on Liaison Counsel, Russ Herman and Phillip

Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by

electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-

Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the

United States District Court for the Eastern District of Louisiana by using the CM/ECF system

which will send a Notice of Electronic Filing in accord with the procedures established in MDL

1657, on this 3rd day of April, 2010.

/s/ Stephen G. Strauss

Stephen G. Strauss

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Attorneys for Defendant
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